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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA ) . 5
) Criminal No. 21~ 40
Vv. ) (18 U.S.C. §§ 371 and 1001(a)(3))
) [UNDER SEAL]
RICHARD SUNSERI ) Chl Gr
Fea]
MATTHEW DURBIN P E D
SEP 2 7 2021
INDICTMENT CLERK U.S. DISTRICT COURT
WEST. DIST. OF PENNSYLVANIA
INTRODUCTION
1. The United States Department of Housing and Urban Development’s

(“HUD”) Single Family Property Disposition Program allows individuals to purchase a home from
HUD. These homes are owned by HUD after a Federal Housing Administration (“FHA”) loan
forecloses.

2. As part of the Single Family Property Disposition Program, the home is
first available to owner-occupant buyers, meaning that HUD first accepts bids from individuals
who intend to purchase the home as an owner-occupant, who will live in the house for at least one
year.

3. If the home does not sell to an owner-occupant buyer, then (and only then),
will it be made available to any other buyer, including investors.

4, The defendants, RICHARD SUNSERI and MATTHEW DURBIN, are |

licensed real estate agents and real estate investors.
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COUNT ONE
The grand jury charges:

THE CONSPIRACY AND ITS OBJECTS

 

5. From in and around August 2016, and continuing thereafter until in and

around December 2017, in the Western District of Pennsylvania, the defendants, RICHARD
‘SUNSERI and MATTHEW DURBIN, knowingly and willfully did conspire, combine,
confederate and agree together and with each other, to defraud the Department of Housing and
Urban Development, an agency of the executive branch of the United States. |
. MANNER AND MEANS OF THE CONSPIRACY

6. It was a part of the conspiracy that MATTHEW DURBIN, as the buyer, and
RICHARD SUNSERI, as the buyer’s agent, entered into a sales contract with the United States
Department of Housing and Urban Development (“HUD”) to purchase the foreclosed property at
5606 Villahaven Drive, Pittsburgh, PA 15236. |

7. It was further a part of the conspiracy that MATTHEW DURBIN and
RICHARD SUNSERI made certifications representing that MATTHEW DURBIN was
purchasing the home at 5606 Villahaven Drive, Pittsburgh, PA 15236 as an owner/occupant and
representing that MATTHEW DURBIN would occupy the property as his primary residence for
at least twelve (12) months when, as MATTHEW DURBIN and RICHARD SUNSERI well knew,
each of said representations falsified the material facts that MATTHEW DURBIN was not
purchasing the home as an owner/occupant and MATTHEW DURBIN would not occupy the home
for at least twelve (12) months and was, instead, purchasing the home as an investor.

8. It was further a part of the conspiracy that by falsely certifying that

MATTHEW DURBIN was purchasing the home at 5606 Villahaven Drive, Pittsburgh, PA 15236
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as an owner/occupant, MATTHEW DURBIN and RICHARD SUNSERI were able to bid on the
property before any other real estate investor under the applicable HUD program, thereby
interfering with HUD and its lawful functions through their deceit and dishonest means.

9. It was further a part of the conspiracy that MATTHEW DURBIN and
RICHARD SUNSERI financed and/or made payments toward the renovation of the property at
5606 Villahaven Drive, Pittsburgh, PA 15236 and, following the completion of the renovation ‘
and/or certain improvements and repairs, sold it less than twelve (12) months after MATTHEW
DURBIN purchased the home.

10. It was further a part of the conspiracy that RICHARD SUNSERL as the
buyer, and MATTHEW DURBIN, as the buyer’s agent, entered into a sales contract with the
United States Department of Housing and Urban Development (“HUD”) to purchase the
foreclosed property at 1670 New Haven Avenue, Pittsburgh, PA 15216.

AL It was further a part of the conspiracy that RICHARD SUNSERI and
MATTHEW DURBIN made certifications representing that RICHARD SUNSERI was
purchasing the home as an owner/occupant and representing that RICHARD SUNSERI would
occupy the property as his primary residence for at least twelve (12) months when, as RICHARD
SUNSERI and MATTHEW DURBIN well knew, each of said representations falsified the
material facts that RICHARD SUNSERI was not purchasing the home as an owner/occupant and
RICHARD SUNSERI would not occupy the home for at least twelve (12) months and was, instead,
purchasing the home as an investor. |

12. It was further a part of the conspiracy that by falsely certifying that
RICHARD SUNSERI was purchasing the home as an owner/occupant, RICHARD SUNSERI and

MATTHEW DURBIN were able to bid on the property before any other real estate investor under
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the applicable HUD program, thereby interfering with HUD and its lawful functions through their
deceit and dishonest means.

13. It was further a part of the conspiracy that RICHARD SUNSERI and
MATTHEW DURBIN financed and/or made payments toward the renovation of the property at
1670 New Haven Avenue, Pittsburgh, PA 15216 and, following the completion of the renovation
and/or certain improvements and repairs, sold the property less than twelve (12) months after
RICHARD SUNSERI purchased the home.

14. ‘It was further a part of the conspiracy that RICHARD SUNSERI and
MATTHEW DURBIN split certain proceeds and/or commissions related to the sale of the property
at 1670 New Haven Avenue, Pittsburgh, PA 15216. |

OVERT ACTS

15. In furtherance of the conspiracy, and to effect the objects of the conspiracy,
the defendants, RICHARD SUNSERI and MATTHEW DURBIN, did commit and cause to be
committed, the following overt acts, among others, in the Western District of Pennsylvania:

a) On or about August 16, 2016, MATTHEW DURBIN signed a sales contract
with HUD, certifying that he was an “owner-occupant” who intended to occupy the property at
5606 Villahaven Drive, Pittsburgh, PA 15236 as his primary residence and signed the document
certifying the same.

b) On or about August 16, 2016, RICHARD SUNSERI, as MATTHEW |
DURBIN’ agent, certified that the information contained within the sales contract for the property
at 5606 Villahaven Drive, Pittsburgh, PA 15236 was true and accurate and that he, RICHARD
SUNSERI, was not knowingly submitting the sales contract for the property at 5606 Villahaven

Drive, Pittsburgh, PA 15236 on behalf of an investor purchaser.
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c) On or about September 26, 2016, MATTHEW DURBIN obtained an
interest-only loan at a rate of 15% interest from M&M RE Holdings to purchase the foreclosed
property at 5606 Villahaven Drive, Pittsburgh, PA 15236. The loan stated that it was for business
purposes only.

d) On or about September 26, 2016, RICHARD SUNSERI placed a personal
guaranty on MATTHEW DURBIN ’s loan to purchase the foreclosed property at 5606 Villahaven
Drive, Pittsburgh, PA 15236.

e) On or about March 17, 2017, MATTHEW DURBIN sold the property at
5606 Villahaven Drive, Pittsburgh, PA 15236, for $200,000.00 with RICHARD SUNSERI as the
agent, less than twelve (12) months after purchasing it for $113,000.00.

f) ‘On or about May 1, 2017, RICHARD SUNSERI signed a sales contract
with HUD, certifying that he was an “owner-occupant” who intended to occupy the property at
1670 New Haven Avenue, Pittsburgh, PA 15216 as his primary residence and signed the document
certifying the same.

g) On or about May 1, 2017, MATTHEW DURBIN, as RICHARD
SUNSERI’s agent, certified that the information contained within the sales contract for the
property at 1670 New Haven Avenue, Pittsburgh, PA 15216 was true and accurate and that he,
MATTHEW DURBIN, was not knowingly submitting the sales contract for the property at 1670
New Haven Avenue, Pittsburgh, PA 15216 on behalf of an investor purchaser.

h) On or about June 16, 2017, RICHARD SUNSERI obtained an interest-only
loan at a rate of 15% interest from M&M RE Holdings to purchase the foreclosed property at 1670

New Haven Avenue, Pittsburgh, PA 15216. The loan stated that it was for business purposes only.
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i) On or about June 16, 2017, MATTHEW DURBIN placed a personal
guaranty on SUNSERI’s loan to purchase the foreclosed property at 1670 New Haven Avenue,
Pittsburgh, PA 15216.

j) On or about December 22, 2017, RICHARD SUNSERI sold the property at
1670 New Haven Avenue, Pittsburgh, PA 15216, for $235,000.00, less than twelve (12) months
after purchasing it for $99,000.00.

All in violation of Title 18, United States Code, Section 371.
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COUNT TWO

The grand jury further charges:
On or about May 1, 2017, in the Western District of Pennsylvania, the defendant,
RICHARD SUNSERI, in a matter within the jurisdiction of the executive branch of the
Government of the United States, did knowingly and willfully make and use a false writing and
document knowing the same to contain a materially false, fictitious and fraudulent statement and |
entry, that is, the defendant, RICHARD SUNSERL stated and represented in a sales contract with
the United States Department of Housing and Urban Development that he was purchasing the
property located at 1670 New. Haven Avenue, Pittsburgh, PA 15216 as an owner-occupant to
, occupy the home as his primary residence, whereas in truth and fact, as the defendant, RICHARD
SUNSERI, well knew, this representation falsified the material fact that he was not purchasing the .

home as an owner-occupant, and was, instead, purchasing the home as an investor.

In violation of Title 18, United States Code, Section 1001(a)(3).
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COUNT THREE

The rand jury further charges:

On or about August 16, 2016, in the Western District of Pennsylvania, the
' defendant, MATTHEW. DURBIN, in a matter within the jurisdiction of the executive branch of
the Government of the United States, did knowingly and willfully make and use a false writing
and document knowing the same to contain a materially false, fictitious and fraudulent statement
and entry, that is, the defendant, MATTHEW DURBIN, stated and represented in a sales contract
with the United States Department of Housing and Urban Development that he was purchasing the
property located at 5606 Villahaven Drive, Pittsburgh, PA 15236 as an owner-occupant to occupy
the home as his primary residence, whereas in truth and fact, as the defendant, MATTHEW
DURBIN, well knew, this representation falsified the material fact that he was not purchasing the
home as an owner-occupant, and was, instead, purchasing the home as an investor.

In violation of Title 18, United States Code, Section 1001(a)(3).

A True Bil],
Foreperson

STEPHEN R. KAUFMAN
Acting United States Attorney

PA ID No. 42108

 
